                         Case 22-15725-AJC                  Doc 15      Filed 08/18/22          Page 1 of 1


 RE: Yunia Diaz Morales                                                                                      Case # 22-15725 AJC
      TRUSTEE'S NOTICE OF DEFICIENCY FOR CONFIRMATION AND RECOMMENDATION (Pre 341)
   The Tmstee reviewed this case for the meeting of creditors and found the following deficiencies from the Tmstee's letter requesting
                         documents and thus objects as follows: Reviewed documents received prior to: 8/ 12/22
   Tax returns:                                        Corporate Tax Retums:
   Photo ID/SS card - Legible/Unredacted                 LF90                 ✓ LF 67           LF 10
   Plan does not fund properly
   Calculation en-ors       Missing months/amounts           Inconsistent temis        Plan form completed incon-ectly
   Attorney fee itemization or Fee Application needed (see court guideline 6)
    Missing 2016(B)                                           ✓     Missing Attorney's Declaration & 341 Written Quest.
   Other provisions :       IVL                   100%        Lawsuit       Gambling         MMM
   Reaffinn, redeem or sUITender Sch D or G creditor :
   MMM Motion not filed             Valuation motion not filed                      Lien Avoidance Motion not filed
   Priority debt on Schedule E not in plan:
   Creditor in Plan is not listed in Schedules or has not filed a POC:
   Creditor paid through the Plan has not filed a POC:
   Object or Confonn to Proof of Claim:          Miami-Dade County           Tax Certificate (DE#        )      Dept of Revenue
        IRS
    OTHER PLAN ISSUES:




   Real Estate FMV and Payoff:
   Non-Homestead Information Sheet:
   Vehicles FMV (NADA/Cannax), Reg and Payoff:
   Other:
✓ Bank Account Statements            3 months pre-petition #2356 (7/9 - 7/26/22)



   Copy of check(s) and/or explanation:
   Explanation of withdrawal(s):
   40 lK./Retirement/Pension                          Annuity                             Life Insmance Policy
  Domestic Suppo1t Obligation fonn complete with info: name, address and phone
✓ Wage deduction order or Motion to waive
   BDQ & attachments                          Profit/loss       Balance Sheet
  Business Bank statements and checks             3 months pre-petition



   Affidavit of support
    Tmstee reserves the right to raise additional objects until all requested documents are timely provided. This deficiency is limited to
 missing documents only. The Tmstee w-ill file a Notice of Deficiency with additional document requested and legal issues raised after the
    341 - meeting of creditors. I hereby certify that a hue and con-ect copy of the foregoing was served through ECF on the debtor's
                 attomey or by U.S. First Class pre-paid Mail on the pro se debtor on the same day filed with the Court.
   Submitted by NANCY K. NEIDICH, ESQ, STANDING CHAPTER 13 TRUSTEE P .O. BOX 279806, MIRAl"\IAR, FL 33027
  *DOCUMENTS MUST BE RECEIVED OR FILED AND ISSUES ADDRESSED AT LEAST FOURTEEN DAYS PRIOR TO EACH
                            CONFIRMATION HEARING TO AVOID DISMISSAL*
